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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, et al.,                   )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )       Case No. 1:20-cv-5583-AKH
                                             )
U.S. DEPARTMENT OF HEALTH                    )
AND HUMAN SERVICES, et al.,                  )
                                             )
       Defendants.                           )
                                             )


                UNOPPOSED MOTION FOR A STAY OF PROCEEDINGS
       Defendants, by and through undersigned counsel, respectfully request that the Court stay

all proceedings in this matter while new leadership at the U.S. Department of Health and Human

Services (HHS) evaluates the issues this case presents, especially in light of the President’s

Executive Order on Preventing and Combating Discrimination on the Basis of Gender Identity or

Sexual Orientation. This motion is unopposed.

   1. This case concerns the validity of a final rule that HHS promulgated in 2020. The rule,

       entitled Nondiscrimination in Health and Health Education Programs or Activities, 85 Fed.

       Reg. 37,160 (June 19, 2020), implements Section 1557 of the Patient Protection and
       Affordable Care Act, 42 U.S.C. § 18116. In this case, Plaintiffs seek judicial review of the

       rule. On December 2, 2020, Defendants moved to dismiss for lack of subject matter

       jurisdiction and Plaintiffs moved for summary judgment on their Administrative Procedure

       Act claims.

   2. The parties’ motions are fully briefed. The Court has not scheduled argument on the

       motions.

   3. New leadership at HHS is will be reassessing the issues that this case presents. In would

       therefore conserve the resources of the Court and the parties to stay proceedings while HHS

       undertakes this reassessment.    New leadership began arriving at HHS and the U.S.
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       Department of Justice on January 20, 2021 and will need additional time to review the rule

       in question and the multiple legal issues that are involved in this case; consult with all

       interested federal agencies and offices; and determine the appropriate course going

       forward. Given the recent change of administration and the complexity and importance of

       the issues presented by the rule and in this case, these extraordinary circumstances support

       a stay of proceedings. The Court’s authority to order such a stay is well-settled. See Landis

       v. N. Am. Co., 299 U.S. 248, 253 (1936) (“The power to stay proceedings is incidental to

       the power inherent in every court to control the disposition of the causes on its docket with

       economy of time and effort for itself, for counsel, and for litigants.”). Accord Dietz v.

       Bouldin, 136 S. Ct. 1885, 1892-93 (2016) (“This Court has also held that district courts

       have the inherent authority to manage their dockets and courtrooms with a view toward the

       efficient and expedient resolution of cases.” (citing Landis, 299 U.S. at 254)).

   4. The Court should stay further district court proceedings pending the new administration’s

       review of this litigation and the rule being challenged because that review may result in

       changes that render it unnecessary for the court to resolve the jurisdictional and merits

       issues presented in this case or, at the very least, narrow those issues significantly.

       Moreover, neither party nor the public would be prejudiced by a stay.

   5. The federal government proposes that the parties file a joint status report no later than May

       14, 2021, apprising the Court of the status of the matter and submitting a proposal for

       further proceedings. Section 2(d) of the aforementioned Executive Order requires agency

       heads, by April 30, 2021, to develop a plan to carry out actions the agency identifies as

       appropriate. May 14, 2021 would provide the parties two weeks to confer after that date.

       Plaintiffs do not oppose Defendants’ proposal.

                                         CONCLUSION

       For the foregoing reasons, the Court should stay proceedings in this case. Defendants

propose that the parties jointly file a status report by no later than May 14, 2021, apprising the

Court of the status of the matter and submitting a proposal for further proceedings.

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Dated: February 10, 2021            Respectfully submitted,
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